The issue was to enquire and ascertain whether the sum of $438 64 Mrs. Griffith's share of the balance due from Joseph Sudler the executor of Nathan Willey to the said James Johnson as guardian of the said Elizabeth Griffith "was lost by the wilful default or negligence of James Johnson the late guardian of the said Elizabeth" or whether any part, c, was so lost.
In order to prove Sudler's ability to pay at a certain period,Layton, for plff., offered in evidence the record of the assessment of Sudler's real and personal estate. This was objected to on the ground that the assessment was res inter alios acta and not binding on Johnson; and also because it proved nothing. The public assessment is only valid as between the county and the person assessed. It can't prove property, nor value. A life estate is assessed as high as a fee simple; lands held in trust are assessed to the trustee; and frequently lands owned and held by one person will stand for years assessed in the name of another, a former owner. 2Stark. 1330.
The record was not admitted.
The plff also offered a list of judgments for and against Joseph Sudler, made out and certified by the prothonotary. Objected to. Not the copy of a record; does not profess to be any such thing. Mere minutes or extracts from the records containing the names of the parties; amounts, c.
The Court rejected the evidence, but remarked if these abstracts were objected to it would be productive of much unnecessary expense in furnishing copies. This was admitted but it was said that it must be left as heretofore to the agreement of the parties. Cases might occur where great injustice would be done by the production of these short memorandums if as a general rule they were regarded as competent evidence.
The case went on to the jury who finally found a verdict in the negative of the issue.